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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ELMAGIN CAPITAL, LLC             :               CIVIL ACTION
                                 :
     v.                          :
                                 :
CHAO CHEN, KARL PETTY, ENTERGRID :
LLC and ENTERGRID FUND I LLC     :               NO. 20-2576


                                       ORDER

      NOW, this 17th day of August, 2021, upon consideration of the parties’ cross-

motions for summary judgment (Document Nos. 57 and 58), the parties’ responses and

the parties’ replies, it is ORDERED that the motions are DENIED.



                                              /s/ Timothy J. Savage
                                              TIMOTHY J. SAVAGE, J.
